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                          IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF DELAWARE

                                                                    )
    In re:                                                          )    Chapter 11
                                                                    )
    FRANCHISE GROUP, INC., et al., 1                                )    Case No. 24-12480 (LSS)
                                                                    )
                              Debtors.                              )    (Jointly Administered)
                                                                    )
                                                                    )    Re: Docket No. 1044

                    ORDER (I) EXTENDING THE DEBTORS’ EXCLUSIVE
                   PERIODS TO FILE A CHAPTER 11 PLAN AND SOLICIT
                ACCEPTANCES THEREOF PURSUANT TO SECTION 1121 OF
              THE BANKRUPTCY CODE AND (II) GRANTING RELATED RELIEF

             Upon the motion (the “Motion”) 2 of the above-captioned debtors and debtors in possession

(collectively, the “Debtors”) for entry of an order (this “Order”) (a) extending the Filing

Exclusivity Period through and including June 2, 2025, and the Solicitation Exclusivity Period




1     The Debtors in these chapter 11 cases, along with the last four digits of their U.S. federal tax identification
      numbers, to the extent applicable, are Franchise Group, Inc. (1876), Freedom VCM Holdings, LLC (1225),
      Freedom VCM Interco Holdings, Inc. (2436), Freedom Receivables II, LLC (4066), Freedom VCM Receivables,
      Inc. (0028), Freedom VCM Interco, Inc. (3661), Freedom VCM, Inc. (3091), Franchise Group New Holdco, LLC
      (0444), American Freight FFO, LLC (5743), Franchise Group Acquisition TM, LLC (3068), Franchise Group
      Intermediate Holdco, LLC (1587), Franchise Group Intermediate L, LLC (9486), Franchise Group Newco
      Intermediate AF, LLC (8288), American Freight Group, LLC (2066), American Freight Holdings, LLC (8271),
      American Freight, LLC (5940), American Freight Management Company, LLC (1215), Franchise Group
      Intermediate S, LLC (5408), Franchise Group Newco S, LLC (1814), American Freight Franchising, LLC (1353),
      Home & Appliance Outlet, LLC (n/a), American Freight Outlet Stores, LLC (9573), American Freight Franchisor,
      LLC (2123), Franchise Group Intermediate B, LLC (7836), Buddy’s Newco, LLC (5404), Buddy’s Franchising
      and Licensing LLC (9968), Franchise Group Intermediate V, LLC (5958), Franchise Group Newco V, LLC (9746),
      Franchise Group Intermediate BHF, LLC (8260), Franchise Group Newco BHF, LLC (4123), Valor Acquisition,
      LLC (3490), Vitamin Shoppe Industries LLC (3785), Vitamin Shoppe Global, LLC (1168), Vitamin Shoppe
      Mariner, LLC (6298), Vitamin Shoppe Procurement Services, LLC (8021), Vitamin Shoppe Franchising, LLC
      (8271), Vitamin Shoppe Florida, LLC (6590), Betancourt Sports Nutrition, LLC (0470), Franchise Group
      Intermediate PSP, LLC (5965), Franchise Group Newco PSP, LLC (2323), PSP Midco, LLC (6507), Pet Supplies
      “Plus”, LLC (5852), PSP Group, LLC (5944), PSP Service Newco, LLC (6414), WNW Franchising, LLC (9398),
      WNW Stores, LLC (n/a), PSP Stores, LLC (9049), PSP Franchising, LLC (4978), PSP Subco, LLC (6489), PSP
      Distribution, LLC (5242), Franchise Group Intermediate SL, LLC (2695), Franchise Group Newco SL, LLC
      (7697), and Educate, Inc. (5722). The Debtors’ headquarters is located at 2371 Liberty Way, Virginia Beach,
      Virginia 23456.

2     Capitalized terms used but not otherwise defined herein have the meanings ascribed to them in the Motion.
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through and including July 31, 2025, without prejudice to the Debtors’ right to seek further

extensions to the Exclusivity Periods, and (b) granting related relief, all as more fully set forth in

the Motion; and upon the First Day Declaration; and the United States District Court for the District

of Delaware having jurisdiction over this matter pursuant to 28 U.S.C. § 1334, which was referred

to this Bankruptcy Court under 28 U.S.C. § 157 and the Amended Standing Order of Reference

from the United States District Court for the District of Delaware, dated February 29, 2012; and

this Bankruptcy Court having found that this is a core proceeding pursuant to 28 U.S.C. § 157(b)(2)

and this Bankruptcy Court having found that this Bankruptcy Court may enter a final order

consistent with Article III of the United States Constitution; and this Bankruptcy Court having

found that venue of this proceeding and the Motion in this district is proper pursuant to 28 U.S.C.

§§ 1408 and 1409; and this Bankruptcy Court having found that the relief requested in the Motion

is in the best interests of the Debtors’ estates, their creditors, and other parties in interest; and this

Bankruptcy Court having found that the Debtors’ notice of the Motion and opportunity for a

hearing on the Motion were appropriate and no other notice need be provided; and this Bankruptcy

Court having reviewed the Motion; and this Bankruptcy Court having determined that the legal

and factual bases set forth in the Motion establish just cause for the relief granted herein; and upon

all of the proceedings had before this Bankruptcy Court; and after due deliberation and sufficient

cause appearing therefor, it is HEREBY ORDERED THAT:

        1.       The Motion is granted as set forth herein.

        2.       Pursuant to section 1121(d) of the Bankruptcy Code, the Filing Exclusivity Period

pursuant to section 1121(b) of the Bankruptcy Code is hereby extended through and including

June 2, 2025.




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       3.      Pursuant to section 1121(d) of the Bankruptcy Code, the Solicitation Exclusivity

Period pursuant to section 1121(c) of the Bankruptcy Code is hereby extended through and

including July 31, 2025.

       4.      Nothing herein shall prejudice the Debtors’ rights to seek further extensions of the

Exclusivity Periods consistent with section 1121(d) of the Bankruptcy Code.

       5.      Notice of the Motion as provided therein shall be deemed good and sufficient notice

of the Motion and the requirements of Bankruptcy Rule 6004(a) and the Local Rules are satisfied

by such notice.

       6.      The Debtors are authorized to take all actions necessary to effectuate the relief

granted in this Order in accordance with the Motion.

       7.      This Bankruptcy Court retains jurisdiction with respect to all matters arising from

or related to the implementation, interpretation, and enforcement of this Order.




      Dated: April 7th, 2025                        LAURIE SELBER SILVERSTEIN
      Wilmington, Delaware                          UNITED STATES BANKRUPTCY JUDGE
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